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                                                              22SL-CC00622
                                                                        EXHIBIT
              IN THE CIRCUIT COURT OF ST. LOUIS COUNTY                      A
                         STATE OF MISSOURI

NIKKI STEINER MAZZOCCHIO,           )
and ANGELA STEINER KRAUS,           )
                                    )
      Plaintiff,                    )
                                    )
vs.                                 ) Case No. _______________
                                    )
COTTER CORPORATION,                 )
Serve at:                           )           JURY TRIAL DEMANDED
     C T Corporation System         )
     Registered Agent for           )
     Cotter Corporation             )
     7700 E. Arapahoe Road,         )
     Suite 220                      )
     Centennial, CO 80112           )
                                    )
COMMONWEALTH EDISON                 )
COMPANY,                            )
Serve at:                           )
     Corporate Creations            )
     Network Inc.                   )
     Registered Agent for           )
     Commonwealth Edison            )
     Company                        )
     350 S. Northwest Highway,      )
     Suite 300                      )
     Park Ridge, IL 60068           )
                                    )
DJR HOLDINGS, INC.                  )
f/k/a FUTURA COATINGS, INC.,        )
Serve:                              )
       Rodney D. Jarboe             )
       9200 Latty Avenue            )
       Hazelwood, MO 63042          )
                                    )
      and                           )
                                    )
ST. LOUIS AIRPORT                   )
AUTHORITY, A DEPARTMENT             )
OF THE CITY OF ST. LOUIS            )
Serve:                              )
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      Mayor Tishaura Jones                )
      St. Louis City Hall                 )
      1200 Market St                      )
      Room 200                            )
      St. Louis, MO 63103                 )
                                          )
      Defendants.                         )
                                          )


                                      PETITION

      COMES NOW Plaintiffs, by and through their undersigned counsel, and for

their claims and causes of action against Defendants Cotter Corporation,

Commonwealth Edison, DJR Holdings, and the St. Louis Airport Authority, and state

the following based on personal knowledge as to their own acts and on information

and belief as to all other allegations:

                                  INTRODUCTION

      1.     Plaintiffs bring this action against Defendants seeking redress for bodily

injury suffered by Plaintiffs as a result of Defendants’ acts and omissions, including

their negligent acts and omissions, related to the processing, transport, storage,

handling, and disposal of hazardous, toxic, and radioactive materials in close

proximity to residential neighborhoods in and around St. Louis County, Missouri.

      2.     Since World War II, big companies have made significant profits

processing, handling, and storing radioactive materials in the St. Louis area. This

activity began six decades ago, when Mallinckrodt received in downtown St. Louis

City special highly concentrated uranium with high levels of radium from Africa. This

special ore was extremely toxic—more so than the ores available from anywhere else
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in the world. Despite the fact that these materials were some of the most harmful on

Earth, Defendants moved them around St. Louis, treating the radioactive materials

with less care than a reasonable person might give in moving common household

garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis

to the St. Louis Airport, then to Hazelwood.

      3.     Until the 1970s, radioactive materials were stored in bulk, on the

ground, open to the elements, and unattended at sites on and adjacent to Coldwater

Creek, which runs throughout North St. Louis County and is a tributary for the

Missouri River. These sites included the St. Louis Airport Site (“SLAPS”), a storage

facility on Latty Avenue is Hazelwood, Missouri (the “Latty Avenue Site”) (part of

which later became the Hazelwood Interim Storage Site (“HISS”).

      4.     Since then, that radioactive material, negligently dumped in an area

surrounded by peaceful neighborhoods and playgrounds, has tormented the lives of

everyday people—moms and dads who thought they were raising their kids in a clean

home in a safe, quiet neighborhood; kids who want nothing more than to play in the

backyard; and small business owners who had invested everything to build the

American dream for their families. These everyday St. Louisans now find their lives

disrupted, their kids sick, their homes contaminated, their businesses upended, and

their properties worthless. They find their once-quaint neighborhoods filled with

technicians testing and prodding their backyards and the dust of their vacuum

cleaners to identify the quantity and the toxicity of the radioactive material

Defendants have dumped into their lives.
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      5.     Tests conducted by representatives of the United States of America and

others now confirm that the areas around Coldwater Creek are contaminated with

the same radioactive wastes generated in the processing of uranium ores in the St.

Louis area. The off-site radioactive waste found today in the real property, which

contains businesses and homes, surrounding the Coldwater Creek has the fingerprint

(or profile) of the ore processed in St. Louis by Defendants.

      6.     These radioactive wastes are known human carcinogens that can cause

chronic damage to the skin, reproductive system, blood forming system, digestive

system, central nervous system, and immune system in addition to numerous

cancers. Illnesses such as cancers or birth defects may take a number of years after

exposure to the radioactive material to appear.

      7.     Plaintiff Nikki Steiner Mazzocchio (hereinafter “Mazzocchio”) lived in

an apartment in Hazelwood, Missouri from 1984 until 1986. The apartment that

Plaintiff Mazzocchio lived in abutted Coldwater Creek. Mazzocchio’s apartment

flooded with water from Coldwater Creek during the time that she lived in the

apartment.

      8.     Plaintiff Angela Steiner Kraus (hereinafter “Kraus”) lived in an

apartment in Hazelwood, Missouri from 1997 until 2002. The apartment that

Plaintiff Kraus lived in abutted Coldwater Creek. Kraus apartment flooded with

water from Coldwater Creek during the time that she lived in the apartment

                          JURISDICTION AND VENUE
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       9.     This court has jurisdiction over the subject matter and the parties in

this case because the causes of action stated in this Petition arose out of business

activities conducted solely in Missouri and out of torts committed solely in Missouri

by resident and non-resident defendants.

       10.    Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010,

because Defendants’ conduct giving rise to this action took place in St. Louis County,

Missouri.

       11.    Plaintiffs do not allege any causes of actions arising under any laws of

the United States.

       12.    Plaintiffs’ claims do not fall within the scope of the Price Anderson Act.

       13.    Coldwater Creek is not and has never been a licensed nuclear facility.

       14.    Defendants have never received a license to possess, transport, or

dispose of any radioactive wastes on or in Coldwater Creek.

       15.    Defendants did not have a license to dispose of radioactive wastes in

Coldwater Creek.

       16.    Defendants did not have a license to handle the particular materials

they handled as alleged herein, including enriched thorium.

       17.    Defendants have never entered into an indemnification agreement with

the United States government under 42 U.S.C. § 2210 with respect to the complained

activities.

       18.    Plaintiffs expressly contend that no occurrences that form the basis for

this suit rise to the level of a nuclear incident. Plaintiffs’ claims are freestanding state
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law claims concerning traditional state regulation and do not implicate the Price-

Anderson Act and its textually manifest concerns related to liability limitation and

indemnification.

      19.    At the time of the outrageous, reckless, negligent acts that form the

basis for this lawsuit occurred, the Price Anderson Act did not apply because the

wastes at issue were not subject to said Act.

      20.    The Price-Anderson Act does not apply to the indisputably hazardous,

toxic and carcinogenic wastes at issue in this Petition.

                                      PARTIES

      21.    The following people are the Plaintiffs in this action:

      A.1. Nikki Steiner Mazzocchio lived in the French Quarter apartments, at

7371C Normandie Ct., in Hazelwood, Missouri, directly abutting Coldwater Creek

from approximately 1984 until 1986. During those times, Ms. Mazzocchio’s

apartment would flood with waters from the nearby Coldwater Creek. In March of

2018, Ms. Mazzocchio was diagnosed with multiple myeloma. As a result of

Defendants’ negligence in the processing, distribution, transporting, storing,

handling and/or disposing of hazardous and radioactive substances into the area

surrounding her homes, Ms. Mazzocchio developed significant and debilitating

personal injuries. As a result of Defendants’ reckless, negligent, and grossly negligent

conduct, Ms. Mazzocchio suffered severe physical injury, pain, and suffering, and has

incurred medical expenses, and will continue to incur medical expenses for treatment

in the future.
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      A.2. Angela Steiner Kraus lived in the French Quarter apartments, at 7360F

Normandie Ct., in Hazelwood, Missouri, directly abutting Coldwater Creek from

approximately 1997 until 2002. During those times, Ms. Kraus’s apartment would

flood with waters from the nearby Coldwater Creek. Ms. Kraus also maintained an

outdoor garden at the apartment with herbs and tomatoes which she and her sister

would eat. In May of 2018, Ms. Kraus was diagnosed with multiple myeloma. As a

result of Defendants’ negligence in the processing, distribution, transporting, storing,

handling and/or disposing of hazardous and radioactive substances into the area

surrounding her homes, Ms. Kraus developed significant and debilitating personal

injuries. As a result of Defendants’ reckless, negligent, and grossly negligent conduct,

Ms. Kraus suffered severe physical injury, pain, and suffering, and has incurred

medical expenses, and will continue to incur medical expenses for treatment in the

future.

      A3. Plaintiffs Ms. Mazzocchio and Ms. Kraus are sisters. They were born 8

years apart from one another, but yet their cancer diagnoses occurred within 5 weeks

of one another.

      22.    The following parties are Defendants in this action:

      B.1. Cotter Corporation (“Cotter”) is a Colorado corporation with its principal

place of business in Englewood, Colorado, which operates as a subsidiary of General

Atomics, Inc., a California corporation. It was purchased by and became a wholly

owned subsidiary of Commonwealth Edison in 1975. Cotter continuously and

systematically carries on business activities in the State of Missouri in its own name,
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through its parent companies ComEd and Exelon, as well as through its subsidiary

General Atomics, Inc. This lawsuit arises out of damages that resulted from the

Cotter Defendants’ conduct including acts and omissions within the State of Missouri,

as well as the acts and omissions of the predecessors of the Cotter Defendants, which

gave rise to the personal injuries alleged in the Petition.

      B.2. Commonwealth Edison Company (“ComEd”) is an Illinois corporation,

whose former subsidiary corporation, Cotter, conducted business operations in

Missouri. Upon the sale of Cotter, ComEd agreed to indemnify Cotter for certain

liabilities associated with these activities. ComEd continuously and systematically

carries on business activities in the State of Missouri, both on its own and through

its subsidiaries including Cotter and its parent company Exelon. In addition, ComEd

owned Cotter at times relevant to this Petition, and agreed to indemnify Cotter for

liabilities associated with the creation, storage, transportation, and processing of

hazardous, toxic, carcinogenic, radioactive wastes as alleged herein. ComEd regularly

and routinely avails itself of the protection of Missouri laws in St. Louis County

courts, and regularly appears to defend itself in lawsuits tried here. This lawsuit

arises out of damages that resulted from the ComEd Defendants’ conduct including

acts and omissions within the State of Missouri, as well as the acts and omissions of

the predecessors of the ComEd Defendants, which gave rise to the personal injuries

alleged in the Petition.

      B.3. DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura

Coatings”) is a Missouri corporation with its principal place of business in Missouri.
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       B.4. The St. Louis Airport Authority, which is a department of the City of St.

Louis, is now and was at all times herein mentioned a public entity organized and

existing pursuant to Article 6, Section 31 of the Missouri Constitution.

                                   BACKGROUND

       23.     During World War II, the nation began a top-secret project to build the

first atomic bomb. At this time, the Army created the Manhattan Engineering

District (“MED”) to carry out much of the work of the so-called “Manhattan Project.”

After the war, the nation sought ways to use nuclear energy for peaceful purposes

and formed the Atomic Energy Commission (“AEC”) in 1946 to continue this nuclear

research. Some of this work was performed in the St. Louis area.

       24.     From 1942 to 1957, under contracts with the MED and/or the AEC, the

Destrehan Street Refinery and Metal Plant (which later became Mallinckrodt

Chemical Works) processed natural uranium into uranium oxide, trioxide, and metal

uranium at a facility in downtown St. Louis, Missouri. This facility became known as

the St. Louis Downtown Site (“SLDS”). The SLDS site became contaminated with

hazardous, toxic, and radioactive substances as a result.

       25.     In 1946, MED acquired the St. Louis Airport Site (“SLAPS”), a 21-acre

site just north of the St. Louis Airport, for storage of hazardous, toxic, and radioactive

waste residues from the SLDS. In subsequent years, the SLAPS and adjacent

properties became contaminated with hazardous, toxic, and radioactive substances

as a result.
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         26.   During the 1960’s, private companies purchased the hazardous, toxic

and radioactive waste residues being stored at the SLAPS and began hauling them

from the SLAPS to a site on Latty Avenue in Berkeley, Missouri (part of this site later

became the Hazelwood Interim Storage Site (“HISS”)). These waste residues, which

contained valuable metals, were sold for their commercial value and shipped to

various other destinations. The Latty Avenue site became contaminated with

hazardous, toxic, and radioactive substances as a result.


         27.   Transport and migration of hazardous, toxic, and radioactive waste

residues to/from the SLDS, the SLAPS and the HISS also spread hazardous, toxic,

and radioactive substances along haul routes to nearby Vicinity Properties (“VPs”).

Even though the federal government was not responsible for this contamination,

Congress directed that the government add these sites to the Formerly Utilized Sites

Remedial Action Program (“FUSRAP”). 1

                            THE ST. LOUIS FUSRAP SITES 2

         28.   Between 1942 and 1973, Defendants processed, stored, handled, and/or

disposed of large volumes of hazardous, toxic, and radioactive materials in four

separate geographical areas located in and around metropolitan St. Louis, Missouri.




1 The Formerly Utilized Sites Remedial Action Program (FUSRAP) is an environmental remediation
program that addresses radiological contamination generated by activities of the Manhattan
Engineer District and the Atomic Energy Commission (“MED/AEC”) during development of the
atomic weapons in the 1940s and 50s.
2 The St. Louis FUSRAP Sites include: (1) the St. Louis Downtown Site (“SLDS”); (2) the St. Louis

Airport Site (“SLAPS”); (3) the Hazelwood Interim Storage Site (“HISS”); (4) the Vicinity Properties
(“VPs”); and (5) the Madison Site.
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The designations assigned to these sites are the St. Louis Downtown Site, the North

St. Louis County Sites, the Madison Site, and the West Lake Landfill Site.

                        The St. Louis Downtown Site (“SLDS”)

         29.   The St. Louis Downtown Site is located in an industrial area on the

eastern border of St. Louis, approximately 300 feet west of the Mississippi River. The

property is about 11 miles southeast of the SLAPS and the Lambert-St. Louis

International Airport. The SLDS encompasses nearly 45 acres and is presently owned

and operated by Mallinckrodt, Inc. (formerly Mallinckrodt Chemical Works). The

property includes many buildings and other facilities involved in chemical

production.

         30.   From 1942 to 1957, Mallinckrodt used the SLDS for processing various

forms of uranium compounds, for machining, and for recovery of uranium metal. In

1946, Mallinckrodt began the manufacture of uranium dioxide from pitchblende ore

at a newly constructed plant at the SLDS.

         31.   When Mallinckrodt ran out of space at the SLDS to store the hazardous,

toxic and radioactive waste residues left over from the production process, a 21.7-acre

tract of land (now known as the SLAPS) was procured in north St. Louis County to

store hazardous, toxic and radioactive waste residues from uranium processing at the

SLDS.

                          The North St. Louis County Sites: 3


3The North St. Louis County Sites consist of: (1) the St. Louis Airport Site; (2) the SLAPS
Vicinity Properties (VPs); and (3) the Latty Avenue Properties. In October 1989, EPA placed three
of the North St. Louis County site properties (SLAPS, HISS, and Futura Coatings Company) on the
Superfund National Priorities List (“NPL”).
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      32.   The St. Louis Airport Site is an unincorporated 21.7-acre property

located near the St. Louis Airport in north St. Louis County. The SLAPS is bounded

by McDonnell Boulevard to the north, Banshee Road and Norfolk Southern Railroad

on the south, and Coldwater Creek on the west.

      33.   Mallinckrodt used the SLAPS to store hazardous, toxic and radioactive

waste residues generated by Mallinckrodt during uranium processing activities at

the SLDS. These materials included, but were not limited to, pitchblende raffinate

residues, radium-bearing residues, barium sulfate cake, Colorado raffinate residues

and contaminated scrap.

      34.   Mallinckrodt stored the radioactive materials in bulk on the open

ground or buried at the western end (near Coldwater Creek) and at other parts of the

SLAPS.

      35.   By 1960, there were approximately 50,000 empty drums and

approximately 3,500 tons of miscellaneous contaminated steel and alloy scrap stored

onsite at SLAPS.

      36.   The SLAPS Vicinity Properties (“VPs”) consist of approximately 78

properties, including properties along former haul routes between the SLAPS and the

HISS, Coldwater Creek, the open fields (a former ball field area) immediately north

of the SLAPS, and other SLAPS contiguous properties. The SLAPS VPs impacted by

hazardous, toxic, and radioactive wastes are located along the haul routes between

the SLAPS and the HISS, and include both recreational and residential properties.
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These haul routes include Eva Avenue, Frost Avenue, Hazelwood Avenue, McDonnell

Boulevard, and Pershall Road.

      37.    Coldwater Creek flows for 500 feet [153 meters] along the western

border of the SLAPS. The creek originates 3.6 miles [5.8 kilometers] to the south of

the SLAPS and continues for 15 miles [24 kilometers] in a northeasterly direction

through the City of Hazelwood, the City of Florissant, unincorporated areas of St.

Louis County, and along the northern edge of the community of Black Jack, until it

discharges into the Missouri River. Coldwater Creek is generally accessible to the

public, except for approximately 1.2 miles [1.9 kilometers], which flows under the

Lambert-St. Louis International Airport. Coldwater Creek is contaminated with

hazardous, toxic, and radioactive materials.

      38.    The Latty Avenue Properties are located in an area approximately one

half mile [1 kilometer] north of the St. Louis Airport in the towns of Hazelwood and

Berkeley, Missouri. The Properties include: (1) the Hazelwood Interim Storage Site;

(2) the Futura Coatings Site (used for manufacturing plastic coatings); and (3) several

Vicinity Properties on Latty Avenue. The Latty Avenue Properties have elevated

levels of residual uranium and thorium on site.

      39.    From approximately 1961 to 1990, hazardous, toxic, and radioactive

materials, specifically those involved in the processing of columbium and tantalum

(C-T), were used in activities for commercial clients at the SLDS. The contamination

present in the soil and groundwater at the FUSRAP sites may be attributed to
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releases of radionuclides to the environment during the uranium processing

operations, the C-T processing operations, or operations unique to the VPs.

      40.     Hundreds of thousands of tons of hazardous, toxic, and radioactive

wastes were transported from the SLDS to the SLAPS for storage, including radium-

bearing residues, refined cake, barium sulfate cake, and C-liner slag. Over time, these

hazardous, toxic, and radioactive waste residues migrated directly from the SLAPS

onto other sites (via Coldwater Creek) or were deposited as the residues were hauled

along transportation routes, contaminating the soils and sediments of the Vicinity

Properties.

      41.     The SLDS and the North St. Louis County Sites have elevated levels of

uranium, thorium, and radium in soils and groundwater. The EPA has concluded

that direct contact with, or accidental ingestion of, contaminated soils or groundwater

near these sites may pose health risks to individuals.

                                   SITE HISTORY

      42.     Mallinckrodt processed uranium feed material for the production of

uranium metal from 1942 to 1957 under contracts with the Manhattan Engineer

District and the Atomic Energy Commission (“MED” / “AEC”). The work was

performed at the Mallinckrodt Plant, located at the SLDS. Within a year, the SLDS

ran out of space to store the hazardous, toxic, and radioactive waste residues left over

from the production process.

      43.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues

left over from the production process at the SLDS were being transported to the
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SLAPS for storage. 4 Scrap metal, chemical drums, and other contaminated debris

were placed in low areas at the SLAPS adjacent to Coldwater Creek on the western

end of the property and covered with dirt to make a level storage area.

         44.   By 1960, there were approximately 50,000 chemical drums and

approximately 3,500 tons of miscellaneous contaminated steel and alloy scrap stored

onsite at SLAPS directly adjacent to Coldwater Creek. Coldwater Creek is the major

drainage mechanism for the SLAPS, the SLAPS VPs, and the Latty Avenue

Properties. It has been designated a Metropolitan No- Discharge Stream. Through

time, various meanders in Coldwater Creek were backfilled to support construction,

resulting in commingling of the site soils and sediments with hazardous, toxic, and

radioactive wastes brought to the SLAPS.

         45.   These hazardous, toxic, and radioactive wastes residues were removed

from the SLAPS in various stages throughout the 1960s. Initially, the residues were

sold to Contemporary Metals Corporation (“Contemporary Metals”). Soon thereafter,

their subsidiary, Continental Mining & Milling Company (“CMM”), began

transporting the waste residues to property at 9200 Latty Avenue (now known as the

HISS and the Futura Coatings Company properties) for storage.

         46.   After CMM went into receivership, the Commercial Discount

Corporation (“CDC”) of Chicago, Illinois, took possession of its assets, including the



4 The following byproducts and scrap were transported mainly from the SLDS to the SLAPS for
storage: padium- bearing residues (“K-65” residues); AM-7 pitchblende raffinate cake; AM-10
Colorado raffinate cake; AJ-4 barium sulfate cake (unleached) and AJ-4 barium cake (leached); C-
liner slag that was created during metal firming operations; C-701 U scalping of magnesium
fluoride, Japanese precipitates, Vitro residues from the Vitro Corporation’s facility in Canonsburg,
PA; and empty drums, contaminated steel and alloy scrap, and building debris.
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Latty Avenue Property and the hazardous, toxic, and radioactive waste residues

stored therein.

      47.    In 1969, the remaining hazardous, toxic, and radioactive wastes

residues at Latty Avenue were sold to the Cotter Corporation (“Cotter”) of Canon City,

Colorado. In 1970, Cotter employed B&K Construction Company of St. Louis,

Missouri, to transport these waste residues out of state. By late 1970, most of the

residues had shipped offsite, except for 10,000 tons of Colorado raffinate and 8,700

tons of leached barium sulphate raffinates.

      48.    In 1973, Cotter disposed of approximately 47,700 tons of soil mixed with

uranium ore processing residues, including leached barium sulfate, uranium, and

thorium, into the West Lake Landfill. This radiologically contaminated soil was

routinely used as cover for municipal wastes and other landfill operations.

      49.    Since 1946, residues have migrated from the SLAPS (via runoff onto

adjacent properties and Coldwater Creek or wind) or were released or otherwise

deposited when material was transported along haul routes, contaminating the soil

and sediments at the SLAPS VPs and the Latty Avenue Properties.

      50.    During the relocation of waste material, improper handling and

transportation from the SLAPS to the Latty Avenue Sites, caused contamination to

spread along haul routes. Improper storage exacerbated the contamination and

caused adjacent properties (the SLAPS and the Latty Avenue Vicinity Properties

(VPs)) to be contaminated.

                   INVESTIGATION OF CONTAMINATION
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         51.   In October 1989, Congress added the SLAPS, the HISS and the Futura

Site to the U.S. EPA’s NPL.

         52.   In 1992, the Madison Site was added to the FUSRAP list slated for

cleanup. Approximately two cubic yards of contaminated uranium and thorium dust

were located on overhead surfaces. Forty cubic yards of contaminated dust and

materials had to be sent offsite for disposal.

         53.   In 1994, the Department of Energy (“DOE”) issued a Remedial

Investigation (“RI”) Report summarizing the results of previous investigations

conducted at the North St. Louis County Sites and SLDS. The RI Report concluded

that contamination is present in both surface and subsurface soils at the North St.

Louis County Sites.

         54.   In 1995, DOE issued an RI Addendum Report to summarize the results

of an additional investigation conducted to fill the data gaps identified in the RI

Report. The activities associated with this investigation included, but were not

limited to, soil sampling at the SLAPS VPs; sediment sampling in Coldwater Creek;

installation of monitoring wells at the SLAPS; vegetation sampling along ditches next

to the haul roads; and background soil and ground-water sampling. The results of the

investigation confirmed the presence of widespread radioactive contamination of

surface and subsurface soils at the North St. Louis County Sites.

         55.   Since 2012, the United States Army Corps of Engineers and its

contractors have sampled and studied the surface of Coldwater Creek. 5 Preliminary


5Bogan, Jesse, Concerns linger as completion date for Coldwater Creek cleanup pushed to 2038, St.
Louis Post Dispatch, December 19, 2021 at https://www.stltoday.com/news/local/metro/concerns-
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soil samples taken north of Interstate 270, the area in which Plaintiffs lived, have

identified areas that “require further action”. The completion date for the clean-up

project of properties along Coldwater Creek has been pushed back to 2038, instead of

the original target date of 2022. As quoted by the St. Louis Post Dispatch, one former

resident of the contaminated area has blamed the delay on there being “much more

extensive contamination that originally thought.”

             TOPOGRAPHY AND DRAINAGE OF CONTAMINANTS

       56.     The North St. Louis County and the SLDS sites are located on a modest

upland area south of the Missouri River floodplain. The upland area surrounds a

topographic depression known as the Florissant Basin.

       57.     Coldwater Creek is the major drainage mechanism for the SLAPS, the

SLAPS VPs, and the Latty Avenue Properties. It has been designated a Metropolitan

No-Discharge Stream. Coldwater Creek flows adjacent to the SLAPS and the SLAPS

VPs, then meanders near the HISS, the Futura Site, and other Latty Avenue

Properties and continues to flow through northern St. Louis County until it

discharges into the Missouri River.

       58.     Coldwater Creek floods areas of the North St. Louis County Sites

including portions of the SLAPS, the HISS, the Futura Site, and several VPs. The

runoff from precipitation that enters Coldwater Creek in a given unit of time greatly

exceeds the predevelopment quantities. This runoff overloads Coldwater Creek and

increases the likelihood of local and area- wide flooding.


linger-as-completion-date-for-coldwater-creek-cleanup-pushed-to-2038/article_45ee5915-7eff-59d6-
a378-7ab4a27d75d7.html.
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      59.    Upon information and belief, the SLAPS and the Latty Avenue VPs,

including impacted areas along Coldwater Creek, were contaminated with radium,

thorium and uranium. Investigations have determined that contamination levels at

the North St. Louis County Sites exceed federal dose limits.

      60.    On-site sampling at the SLAPS, the HISS and the Futura Sites found

elevated levels of hazardous, toxic, and radioactive materials in the groundwater,

soils, and air, in excess of regional isotope background values.

      61.    Defendants’ processing, storage, handling and/or disposal of hazardous,

toxic, and radioactive materials at the St. Louis FUSRAP Sites have generated

significant quantities of substances that are highly toxic to humans and the

environment and are carcinogenic.

      62.    Throughout the history of St. Louis FUSRAP Sites, each Defendant (or

its predecessor in interest) caused recurrent releases of hazardous, toxic, and

radioactive materials into the environment, in complete disregard for applicable law

and for the health and safety of the surrounding communities and the natural

environment. These negligent, grossly negligent, and reckless releases occurred in

various ways, including through direct and indirect discharges of radioactive and

toxic materials into public water bodies, such as Coldwater Creek; the exposure of

workers to these materials, who then in turn spread contamination outside the

worksite; and the improper disposal of hazardous, toxic, and radioactive materials.

      63.    These negligent, grossly negligent, and reckless releases have resulted

in Plaintiffs’ exposure to hazardous, toxic, and radioactive materials.
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      64.    Upon information and belief, the substances to which Plaintiffs were

exposed include, but were not limited to, the natural forms and various isotopes of

cesium, thorium, radium, uranium, and radon. Some of these substances were used

in the conduct of Defendants’ operations, and some were created as by-products or

decay (“daughter”) products.

                               RADIOACTIVE WASTES

      64.    Ounce      for    ounce, radioactive isotopes    are     the most     toxic

materials known to man.

      65.    Radiation is a type of energy transmitted over a distance. Some

materials spontaneously emit radiation through a process known as radioactive

decay. As these materials decay, they release radiation energy and transform into

other radioactive materials which will then also decay by releasing radiation energy

and transforming into other materials.

      66.    Some radiation energies, including the radiation from the decay of

radioactive materials used in nuclear and atomic processes, such as uranium, have

the ability to penetrate other material. When radiation energy interacts with other

material, it causes a process called ionization6 which can damage chemical



6 Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a
form of radiation that includes alpha particles, beta particles, gamma rays, x-rays,
neutrons, high-speed electrons, high-speed protons, and other particles capable of
producing ions. Ionizing radiation has enough energy to cause changes in atoms
through a process called ionization. Ionization can affect the atoms in living things
and depending on the dose and exposure, can pose a serious health risk to humans.
Ionizing radiation has sufficient energy to cause chemical changes in cells, causing
damage to tissue and DNA in genes.” https://www.epa.gov/radiation/radiation-
health-effects
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structures. When the “other material” that ionizing radiation passes through is

human cells, it can cause damage within those cells resulting in mutation in genetic

material which can lead to cancer and other harms.

      67.    People are exposed to radiation in two ways: external exposure from

radioactive material in the environment and internal exposure by radioactive

material that has entered the body. Radioactive material can be taken into the body

by consuming foodstuffs and liquids with radioactivity in them, by inhaling

radioactive gases or aerosol particles, or by absorption through wounds in the skin.

The material taken in will internally expose the organs and tissues for as long as it

remains inside the body.

      68.    One characteristic of the impact of exposure to ionizing radiation on the

human body through both internal and external exposure is that even if the energy

absorbed is low, the biological effects can still be gravely serious.      The second

characteristic is that there are latent biological effects of radiation.

      69.    The injuries resulting from exposure to ionizing radiation can also be

separated into two categories: somatic injuries and genetic injuries. Somatic injuries

are damages to the individual exposed. This can be damages to the skin, reproductive

system, blood forming system, digestive system, central nervous system, and immune

system, as well as cancers. Illnesses such as cancers may take a number of years to

appear.

      70.    Genetic injury is damage to the reproductive cells of the exposed

individual in the form of mutation of their genetic cells. As a result, the probability
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of detrimental effects to the descendants of the exposed persons may greatly increase.

These genetic mutations can be passed down to a person’s offspring even generations

later. These injuries include birth abnormalities and cancer.

      71.    One of the most dangerous aspects of radioactive materials is the length

of time that radioactive isotopes will persist and accumulate in the environment. As

detailed above, radioactive materials decay over time and each radioactive material

gives off radiation energy as it decays and transforms into a different material. The

rate at which a radioactive isotope decays is measured in half-life. The term “half-

life” is defined as the time it takes for one-half of the atoms of a radioactive material

to disintegrate. For example, after one half life, there will be one half of the original

material, after two half-lives, there will be one fourth the original material, after

three half-lives one eight the original sample, and so forth.

                               COUNT I – TRESPASS

                              (Against all Defendants)

      72.    Plaintiffs incorporate by reference all allegations of the preceding

paragraphs as though fully set forth herein.

      73.    At the time of the incidents described herein, Plaintiffs were tenants at

the French Quarter Apartments located on Normandie Court, in Hazelwood,

Missouri.

      74.    At all times relevant herein, Plaintiffs maintained a possessory interest

in the apartment residences in which each occupied.
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      75.    Defendants generated massive quantities of extremely dangerous

radioactive wastes and failed to ensure of their proper disposal.

      76.    Defendants purchased massive quantities of highly toxic radioactive

wastes and failed to properly dispose of these wastes.

      77.    Defendants intentionally, maliciously, and wantonly disposed of

radioactive wastes at a facility unfit to handle such wastes.

      78.    Defendants have used these radioactive materials in a manner that is

unreasonable, unlawful, malicious, and wanton, resulting in an invasion of the

possessory interests of Plaintiffs.

      79.    Defendants have caused these radioactive materials to migrate from

Defendants’ property and other storage locations and contaminate the property in

which Plaintiffs had a possessory interest.

      80.    Defendants willfully, wantonly, and maliciously caused the emission of

radioactive particles onto and around the property in which Plaintiffs maintained a

possessory interest through their improper disposal of radioactive wastes.

      81.    It was reasonably foreseeable that Defendants’ actions would

contaminate the property in which Plaintiffs maintained a possessory interest with

radioactive particles and other hazardous wastes.

      82.    Defendants stored and/or transported radioactive materials and other

toxic and hazardous wastes, as alleged herein.
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      83.    Defendants have used these radioactive materials in a manner that is

unreasonable, unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’

possessory interest in the property.

      84.    Defendants have caused these radioactive materials to migrate and

contaminate the property in which Plaintiffs maintained a possessory interest.

      85.    Defendants willfully, wantonly, and maliciously caused the emission of

Radon gas, and radioactive particles onto and around the property in which Plaintiffs

maintained a possessory interest through their use, transport and disposal of

radioactive wastes.

      86.    It was reasonably foreseeable that Defendants’ actions would

contaminate the property in which Plaintiffs maintained a possessory interest with

radioactive particles and other hazardous wastes.

      87.    The migration of Radon gas and radioactive particles onto the property

in which Plaintiffs maintained a possessory interest caused by Defendants has

resulted in personal injury to Plaintiffs.

      88.    Plaintiff did not give Defendants permission or consent to interfere with

the property in which Plaintiffs’ maintained a possessory interest.          Through

Defendants’ actions and inactions, they are illegally and improperly using in which

Plaintiffs maintained a possessory interest to store radioactive wastes.

      89.    The contamination of the property in which Plaintiffs maintained a

possessory interest with Radon gas and radioactive particles, and other hazardous

wastes, has resulted in significant injury to Plaintiffs.
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      90.    As a direct and proximate cause of this continuing and recurring

physical interference, Plaintiffs have suffered and continue to suffer personal injury,

including multiple myeloma, and have incurred damages, including, but not limited

to, medical bills and expenses.

      WHEREFORE, Plaintiffs Nikki Mazzocchio and Angela Kraus respectfully

request this Court enter judgment against Defendants on Count I of this Petition in

an amount in excess of $25,000.00, and any other relief this Court deems just and

necessary.

                        COUNT II – Temporary Nuisance

                             (Against all Defendants)

      91.    Plaintiffs incorporate by reference all allegations of the preceding

paragraphs as though fully set forth herein.

      92.    At the time of the incidents described herein, Plaintiffs were tenants at

the French Quarter Apartments located on Normandie Court, in Hazelwood,

Missouri.

      93.    At all times relevant herein, Plaintiffs maintained a possessory interest

in the apartment residences in which each occupied.

      94.    Defendants unreasonably and unlawfully stored and used radioactive

materials at the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage

Site (“HISS”), and Coldwater Creek, which adjoins the property in which Plaintiffs

had a possessory interest.
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      95.    The    Defendants    caused    and    contributed   to   the   radioactive

contamination of the property in which Plaintiffs had a possessory interest.

      96.    The radioactive waste caused by Defendants results from permanent

construction that was necessarily injurious to Plaintiffs as installed.

      97.    Operating an unlicensed radioactive hazardous waste dump in a

populated area is a nuisance per se.

      98.    Defendants have intentionally, unreasonably, negligently, recklessly,

willfully, wantonly and maliciously allowed the emission of Radon gas and

radioactive particles onto and around the property in which Plaintiffs had a

possessory interest, resulting in unreasonable interference with Plaintiffs’ use and

enjoyment of their property. Such contamination was incompatible with the normal

use and enjoyment of the property in which Plaintiffs had a possessory interest.

      99.    Defendants’ interference with Plaintiffs’ use and enjoyment of the

property in which Plaintiffs had a possessory interest was substantial.

      100.   Defendants have intentionally, unreasonably, negligently, recklessly,

willfully, wantonly and maliciously allowed the emission of noxious, offensive odors

and various hazardous substances into the surrounding air resulting in unreasonable

interference with Plaintiffs’ use and enjoyment of the property in which Plaintiffs had

a possessory interest.

      101.   Defendants’ continuous and unrelenting noxious odors invading the

property in which Plaintiffs had a possessory interest caused inconvenience to

Plaintiffs and prevented them from using the property.
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      102.   As a direct and proximate result of Defendants’ interference with

Plaintiffs’ use and enjoyment of the property in which Plaintiffs had a possessory

interest, Plaintiffs have suffered permanent injury, including multiple myeloma and

have incurred damages, including, but not limited to, medical bills and expenses.

      WHEREFORE, Plaintiffs Nikki Mazzocchio and Angela Kraus respectfully

request this Court enter judgment against Defendants on Count II of this Petition in

an amount in excess of $25,000.00, and any other relief this Court deems just and

necessary.

                       COUNT III – Permanent Nuisance

                             (Against all Defendants)

      103.   Plaintiffs incorporate by reference all allegations of the preceding

paragraphs as though fully set forth herein.

      104.   At the time of the incidents described herein, Plaintiffs were tenants at

the French Quarter Apartments located on Normandie Court, in Hazelwood,

Missouri.

      105.   At all times relevant herein, Plaintiffs maintained a possessory interest

in the apartment residences in which each occupied.

      106.   Defendants unreasonably and unlawfully stored and used radioactive

materials at the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage

Site (“HISS”), and Coldwater Creek, which adjoins the property in which Plaintiffs

had a possessory interest.
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      107.   The   Defendants     caused     and   contributed   to   the   radioactive

contamination of the property in which Plaintiffs had a possessory interest.

      108.   The Defendants intentionally, unreasonably, negligently, recklessly,

willfully, wantonly and maliciously allow the emission of Radon gas and radioactive

particles onto and around the property in which Plaintiffs had a possessory interest,

resulting in unreasonable interference with Plaintiffs’ use and enjoyment of their the

property in which Plaintiffs’ had a possessory interest.

      109.   Defendants’ interference with Plaintiffs’ use and enjoyment of the

property was substantial.

      110.   Defendants     intentionally,   unreasonably,   negligently,   recklessly,

willfully, wantonly and maliciously allowed various hazardous substances into

Coldwater Creek resulting in unreasonable interference with Plaintiffs’ use and

enjoyment of the property in which Plaintiffs’ had a possessory interest.

      111.   Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty

Avenue Site and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater

Creek prevented Plaintiffs from using the property in which Plaintiffs’ had a

possessory interest.

      112.   As a direct and proximate result of Defendants’ interference with

Plaintiffs’ use and enjoyment of the property in which Plaintiffs’ had a possessory

interest, Plaintiffs have suffered and continue to suffer injury, including multiple

myeloma and have incurred damages, including, but not limited to, medical bills and

expenses.
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      WHEREFORE, Plaintiffs Nikki Mazzocchio and Angela Kraus respectfully

request this Court enter judgment against Defendants on Count III of this Petition

in an amount in excess of $25,000.00, and any other relief this Court deems just and

necessary.

                               COUNT IV – Negligence

                               (Against all Defendants)

      113.     Plaintiffs re-allege and incorporate by reference every allegation of this

Petition as if each were set forth fully herein.

      114.     Radioactive isotopes are known human carcinogens and are among the

most toxic materials known to man. When property becomes contaminated with

these wastes, the dangers can persist in the environment for thousands of years.

Radioactive wastes should be handled, stored, and disposed of with the utmost safety

in mind.      Exposures to radioactive wastes should be as low as is reasonably

achievable.

      115.     Knowing of the grave dangers posed by these wastes, the Defendants

owed a duty of care to the Plaintiffs and the public to ensure the safe and legal

handling, storage, and disposal of the radioactive wastes in order to prevent

significant injury to property and persons.

      116.     Defendants also had a specific duty to warn or notify Plaintiffs of the

potential hazards of exposure to radioactive, toxic and hazardous substances, and to

warn or notify Plaintiffs of the fact that discharges or releases of these substances

had occurred and were likely to occur in the future.
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       117.   Further, Defendants had a duty to comply with applicable state, federal,

and local governmental laws, regulations, and guidelines applicable to persons

processing, handling, storing, and/or disposing of hazardous, toxic, and radioactive

waste materials.

       118.   Defendants breached these duties by their reckless, negligent and

grossly negligent processing, handling, storage, and/or disposal of hazardous, toxic,

and radioactive waste materials as alleged herein. Such conduct was in utter non-

compliance with applicable federal, state and local laws, regulations, and guidelines.

Defendants' reckless, negligent, grossly negligent, and illegal conduct resulted in the

dangerous release of hazardous, toxic, and radioactive substances into the

communities around Coldwater Creek. These actual and continued releases have

subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their

persons.

       119.   Defendants also failed to warn Plaintiffs of the actual and threatened

releases of such hazardous, toxic, and radioactive substances and of the reasonably

foreseeable effects of such releases, an omission that was reckless, negligent and

grossly negligent.

       120.   Defendants failed to act to prevent their releases from harming

Plaintiffs.

       121.   Defendants knew or should have known that their generation,

management, storage, use, disposal, releases, or discharges of radioactive, toxic and
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hazardous substances in as alleged herein would result in actual and increased risks

of damage to Plaintiffs.

      122.   Upon information and belief, Defendants’ negligent training of

personnel handling radioactive, toxic, and hazardous materials on site was a direct

and proximate cause of damage to Plaintiffs.

      123.   Defendants’ negligence throughout the history of the mishandling and

improper dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted

in repeated releases of Radon gas, radioactive particles and other hazardous

materials onto the property in which Plaintiffs’ had a possessory interest, in

disregard of applicable regulations and property rights.

      124.   Defendants’ negligence has damaged Plaintiffs by causing significant

injuries, including multiple myeloma and have incurred damages, including, but not

limited to, medical bills and expenses.

      125.   The injuries sustained by Plaintiffs are of the kind that do not occur

without negligence.

      126.   Plaintiffs’ injuries were the result of wastes generated, disposed of, and

controlled by Defendants.

      127.   Plaintiffs did not consent to the injuries, nor did they contribute to the

injuries in any way.

      WHEREFORE, Plaintiffs Nikki Mazzocchio and Angela Kraus respectfully

request this Court enter judgment against Defendants on Count IV of this Petition in
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an amount in excess of $25,000.00, and any other relief this Court deems just and

necessary.

                           COUNT V – Negligence Per se

                              (Against all Defendants)

      128.   Plaintiffs re-allege and incorporate by reference every allegation of this

Petition as if each were set forth fully herein.

      129.   Defendants violated Missouri regulations for Protection against Ionizing

Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law

and Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-

3.010(8)(A), 80-3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10

CSR 80-3.010(19)(C)(7); Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean

Water Act, Mo. Rev. State. § 644.051.1, and Missouri Air Conservation regulations,

10 C.S.R. 10-6.165, all of which require the safe storage and disposal of radioactive

material so as to protect the health and safety of the public.

      130.   Plaintiffs are members of the class of persons that the Missouri

regulations for Protection against Ionizing Radiation, Missouri Solid Waste

Management Law and Regulations, and Missouri Air Conservation regulations were

intended to protect.

      131.   Plaintiffs’ injuries are the kind of injuries that the Missouri regulations

for Protection against Ionizing Radiation, Missouri Solid Waste Management Law

and Regulations, Missouri Hazardous Waste Management Law, and Missouri Air

Conservation regulations were designed to prevent.
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       132.   Defendants’ violations of Missouri regulations for Protection against

Ionizing Radiation, Missouri Solid Waste Management Law and Regulations, and

Missouri Air Conservation regulations were the proximate cause of Plaintiffs’

injuries.

       133.   Defendants’ negligence throughout the history of the mishandling and

improper dumping of radioactive wastes in the St. Louis area has resulted in repeated

releases of Radon gas and radioactive particles and other hazardous materials onto

the property in which Plaintiffs maintained a possessory interest in violation of

applicable regulations.

       134.   Defendants’ negligence has damaged Plaintiffs’ by causing personal

injury, including multiple myeloma and have incurred damages, including, but not

limited to, medical bills and expenses.

       135.   Plaintiffs did not consent to the injuries, nor did they contribute to the

injuries in any way.

       WHEREFORE, Plaintiffs Nikki Mazzocchio and Angela Kraus respectfully

request this Court enter judgment against Defendants on Count V of this Petition in

an amount in excess of $25,000.00, and any other relief this Court deems just and

necessary.

                 COUNT VI – Strict Liability/Absolute Liability

                              (Against all Defendants)

       136.   Plaintiffs incorporate by reference all allegations of the preceding

paragraphs as though fully set forth herein.
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       137.   Defendants engaged in the abnormally dangerous activity of handling,

storing, and/or disposing of radioactive waste.

       138.   By handling, storing, and/or disposing of radioactive waste, Defendants

have created a high degree of risk of harm to Plaintiffs.

       139.   Defendants have intentionally failed to eliminate the risk of harm

caused by their handling, storing, and/or disposing of radioactive waste.

       140.   As a direct result of Defendants’ abnormally dangerous activities,

Plaintiffs were injured by radioactive materials and they suffered and continue to

suffer injury, including multiple myeloma and have incurred damages, including, but

not limited to, medical bills and expenses.

       141.   Plaintiffs’ injuries are of the kinds that result from the dangerous nature

of handling, storing, and/or disposing of radioactive waste.

       142.   The injuries that Defendants’ handling, storing, and/or disposing of

radioactive waste have caused Plaintiffs to suffer, drastically outweigh the value of

the said activities.

       143.   Accordingly, Defendants are jointly and severally liable for any and all

damages Plaintiffs have sustained as a result of their strict liability for handling,

storing and/or disposing of radioactive materials, including, without limitation, any

incidental or consequential damages.

       WHEREFORE, Plaintiffs Nikki Mazzocchio and Angela Kraus respectfully

request this Court enter judgment against Defendants on Count VI of this Petition in
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an amount in excess of $25,000.00, and any other relief this Court deems just and

necessary.



                                     Respectfully submitted,

                                     KEANE LAW LLC

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